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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                              Criminal No. 07-297(2) (DWF/JSM)

                      Plaintiff,

v.                                                      ORDER AND MEMORANDUM

Nathan Lamont Dixon
a/k/aNasty,

                      Defendant.



David P. Steinkamp and Michael L. Cheever, Assistant United States Attorneys,
United States Attorney’s Office, counsel for Plaintiff.

Nathan Lamont Dixon, Pro Se, Defendant.



         Defendant Nathan Lamont Dixon (“Defendant”) has moved the Court, pro se,

pursuant to 18 U.S.C. § 3582(c) for a sentencing reduction under the revised retroactive

amendments to the United States Sentencing Guidelines applicable to crack cocaine

cases.

         Based upon the presentations of the parties, the Court having again reviewed the

contents of the file, and the Court being otherwise duly advised in the premises, the Court

hereby enters the following:
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                                         ORDER

       1.     For the reasons stated in the memorandum below, Defendant

Nathan Lamont Dixon’s motion for a reduction of sentence (Doc. No. [659]) is

respectfully DENIED.


Dated: July 18, 2012               s/Donovan W. Frank
                                   DONOVAN W. FRANK
                                   United States District Judge


                                    MEMORANDUM

       On February 1, 2008, the Defendant pled guilty to Count 1 of a 40-count

Indictment charging him with conspiracy to possess with intent to distribute and to

distribute 50 grams or more of cocaine base (“crack”) in violation of 21 U.S.C.

§§ 841(a)(1), (b)(1)(A) and 846. Importantly, the parties stipulated in the Plea Agreement

(¶ 5) that Defendant is responsible for “at least 1.5 kilograms, but less than 4.5 kilograms”

of cocaine base, making the base offense level 36. Defendant received a three-level

reduction for “acceptance of responsibility” pursuant to U.S.S.G. § 3E1.1. Accordingly,

with an adjusted offense level of 33 and a criminal history score of III, the Defendant’s

applicable advisory guideline range was 168 to 210 months. However, the Defendant

was also subject to a mandatory minimum statutory penalty of ten years pursuant to 21

U.S.C. § 841(b)(1)(A).

       The Defendant was sentenced by the Court on February 19, 2009. The Defendant

moved for a downward variance and departure from the guideline range of 168 to 210

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months. The Court sentenced the Defendant to 120 months imprisonment to be followed

by a five year term of Supervised Release. The imprisonment term of 120 months

imposed by the Court represented the statutory mandatory minimum sentence required

pursuant to 21 U.S.C. § 841(b)(1)(A).

       The Defendant’s pro se motion for a sentence reduction is based upon the Fair

Sentencing Act of 2010 (“FSA”) and Amendments 750 and 759 to the Sentencing

Guidelines, which became effective November 1, 2011, and did lower the base offense

levels applicable to certain cocaine base (“crack”) offenses.

       Defendant is now before the Court seeking a sentence reduction and requests that

the Court apply the FSA to his case and to all cases, regardless of when the offense

occurred and when the Court imposed sentence. However, there remains no relief to a

Defendant whose Sentencing Guidelines range is trumped or otherwise controlled by a

statutory mandatory minimum. United States v. Johnson, 517 F.3d 1020, 1024 (8th Cir.

2008). In this case, the Defendant’s statutory minimum of 120 months has not been

lowered by the FSA and therefore the Defendant is not entitled to a sentence reduction.

       To be fair to the Defendant, the Court has also construed his pleading as a request

that the increase in the amount of crack cocaine needed to invoke or otherwise trigger a

10-year statutory mandatory minimum, resulting from the enactment of the Fair

Sentencing Act of 2010, applies to his case. Nevertheless, the Defendant is not the first

similarly situated defendant to raise this issue, and the Eighth Circuit has consistently

held that the FSA is not retroactive. United States v. Woods, 642 F.3d 640, 644-45 (8th

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Cir. 2011); United States v. Neadeau, 639 F.3d 453, 456 (8th Cir. 2011); United States v.

Brewer, 624 F.3d 900, 909-10 n.7 (8th Cir. 2010) (Bright, J., concurring in part and

dissenting in part). The Court also notes, that at least ten other circuit courts have held

that the FSA is not retroactive to defendants who were sentenced prior to the effective

date of the FSA. United States v. Goncalves, 642 F.3d 245, 253 (1st Cir. 2011)

(collecting cases). Because Defendant was sentenced on February 19, 2009, the FSA

does not apply to his case, and, therefore, Defendant is not entitled to a sentence reduction

below the statutory mandatory minimum of 120 months.1 Here, the Defendant committed

the crime and was sentenced before the FSA went into effect. However, even if the FSA

applied to Defendant’s case, given the quantity of crack cocaine that the Defendant

admitted to, namely more than 1.5 kilograms of cocaine base (“crack”), the ten year

mandatory minimum would remain the same for the Defendant. The FSA, which took

effect on August 3, 2010, reduced the disparity to 18:1 between the amounts of crack

cocaine and powder cocaine needed to trigger the statutory minimums from 100:1

disparity. Consequently, even if the new mandatory minimums did apply, the increased

amount of crack cocaine needed to trigger the ten year mandatory minimum went from 50

to 280 grams of cocaine base. More than 1.5 kilograms far exceeds 280 grams.



       1
               Admittedly, the United States Supreme Court, in Dorsey v. United States,
No. 11-5683, slip op. 1, 10 (June 21, 2012), recently held that the FSA applies where a
defendant committed a crime before, but was sentenced after, the FSA went into effect.
See also United States v. Gamble, No. 11-2228 (8th Cir. July 10, 2012) (holding that the
district court erred in not applying the FSA to the defendant’s sentencing proceedings).

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      For these reasons, the Court has respectfully denied Defendant’s motion for a

reduction of sentence pursuant to 18 U.S.C. § 3582(c).

                                        D.W.F.




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